8:12-cr-00124-LSC-TDT         Doc # 113     Filed: 09/25/13     Page 1 of 2 - Page ID # 393




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:12CR124
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )              TENTATIVE FINDINGS
                                               )
SHAMUS O’DOHERTY,                              )
                                               )
               Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”) in

this case. The parties adopted the PSR (Filing Nos. 96 and 99.) The Defendant filed a

Motion for Downward Departure and for Deviation or Variance and accompanying brief

(Filing No. 101). See Amended Order on Sentencing Schedule, ¶ 6. The Court advises

the parties that these Tentative Findings are issued with the understanding that, pursuant

to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;
8:12-cr-00124-LSC-TDT       Doc # 113     Filed: 09/25/13    Page 2 of 2 - Page ID # 394




      3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final;

      4.     The Defendant’s Motion for Downward Departure and for Deviation or

Variance (Filing No. 101) will be heard at sentencing; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 25th day of September, 2013.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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